Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 1 of 8

of America

United States

Department of the Treasury
Internal Revenue Service

Date: July 28, 2021

CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed: is a true copy of Form 1041, U.S. Income Tax Return
for Estates and Trusts, for Burgess Mattox Bey Investment Trust, Business Entity
Number XX-XXXXXXX, for the tax year 2015, consisting of seven (7) pages _

rider the custody of this office.

IN WITNESS WHEREOF, | have hereunto set my
hand, and caused the seal of this office to be affixed,
on the day and year first above written.

By the direction of the Secretary of the Treasury:

f a NOS 3 <q Jay Elton

Se _ Supervisory Investigative Analyst
Internal Revenue Service-Criminal Investigation
Delegation Order 11-5

GOVERNMENT
EXHIBIT

3-3

Form 2866 (Rev. 09-97)
USAO-029196

Catalog Number 19002E 4U.5, GPO: 1997-417-890/61741

RAM 07/28/2021
Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 2 of 8

[

Départmentat the Treanury-intemel Reévenua Semce

eee i

€ 1041 U.S. Incone Tax Retum for Estates and Trusts

2015 | wiki ony

>. Information about Form 1644 atid Hs naparate’ instructions Isat Wow. Irs, pasdioret 7 Di.
i Check all thal BPay: “Foc calender year 2015 of fiscal year baginging [ and ending
Cl “Decedent's eslale Rate of estate or ust (if a grantor Type Waist, Foe Ho Instructions.) c ram aumbar
[7] Simpie vust BURGESS MATTOX. REY 2 INVESTMENT TRUST XX-XXXXXXX
Complex tsi Nome and bile of fiduciary B Dale snity created
Trustea op /06/2615

[L] audstiiog dis apiniy rast sin. EL. Ba’
Rumber, weet, ad foom ‘or ula 0. {if P.O., Dow, eee ths insiuciane,)

[] ESET {8 postion only)
2625 Piddmont ‘Rod Noxtheast Ste. s

E Nonexempt chantable ang spit
interest tricia, check pplicabla

tea 56-51. boxes), see instructions,

.b  Net.operaling } logs deduction: {ape instructions) -
‘Allowable nilgcallanedus itemized deductions subject to the 25 floor...

16 Add ines 10 through 150 6... ee we mew eae he RE FHSS

Deductions
oO

] Grantor type trast
[7] sarkruptey extate-Oh. 7 a Devrhadh sos IH7(aKt) Crecchero
oO Bankruptcy estate oh. it | Clverlewn, see OE PIOAIOE, SOOTY, OFA ZIP of Foreign postal ode” Frpota pets Tourgallon. «6s Db
TL] Potted hematin _ Bklanta, GA 30324 (CI Dogetibed in sen, 49470012)
3 Turppat at set le HA F spre [_} inti cota PR} Final row [x] Amended retum “P| Nat operaling loss canryback
Peel DL 65 TT tageriivasnane [| Ciangeln busy [_] Shits in fuclerys name [7] Ghange in fiducary’s addraas
& _Chetkheie if ths Battle or fitig aie Gab atecton sw PL] trositin >
4 Inleresiincome...----- +006 pgeagwd eae ea wenesR ER EEDA dm he Sa 4 A,881,000.
2a Total ordinary dividends, 0 eee se Po ee ‘Ba
pb Qualified dividends allocable to: {i} Beneficiaries 9) Estate or trust
i @ | % Business indore or (loss). Aitach Schedule C or C-EZ Fam 4040). ee te 3
i 4 Capital. galn of (loss). Attach Schedule D (Forn WAT cs amen t Sena mises Ho ea ss | 4 |
| 5 Rants, royalties, partnerships, other estates and trusts, ete. "attach Schedule ‘(Form 4040) - 5 .
| — Fartincome or (lass). Attach Schedile F (Form 1040)... s+ sees ener! -f 8
% — -Ordinary gain or (loss). Attach Fom-4797....-5---° wea (ep euw sees Sed oS | 7 | :
8 Olherincome. List type and amount 8
-9 . Total lfidome. Cotibina.lings 1.22, Sid 3.ihiow He. a: | § | 4,881,000.
40 interest. Check if Form 4052 ieattached & U- Sa ke ;
44- ‘Taxes. Aas new fe aeemelez :
42 Paige oes iguegeeacaasen eens et
13 Chaiitable deduction (from-Schédule A, line 7)... 6. es
44 Attorney, accountant, and return preparer fees... .. + - > BATCHING UNIT |”
484 Other dediictiors Tist subject fo the 2% floor (altach schedile) BATCHING UNIT. ||) fig
‘COVINGTON, Ky. 7) PSB

4,881, 000.

47 ‘Adjusted {otal inoomé or {loss}. Subtract line 16 4rom ined . | a7 |

ai {neptie.distribulion deduction (fram Schedule B, line18). Attach Schedules Kt “(Form 4041), - | 48°

4190 Estale tax deduction inchiding certain generation- ate taxes i eh on)... .-~ L198]
90 - Exemption. 6. ee tet ‘ - 5 Rage ol). [eo
ai Add fines-49 thréudh 20 . seh sy sise i Bek aina ER SB BB scat a tafser PT
22 Taxable income. Sublract ine 21 from ine: 7. a loss, see jnsituctions pnedimeemenees p22 | 4,481,000.
2a Total iax (from Schedule Glie 7... [ee | 2,116 5496.
fi l24 — Paymontss a 2015 ‘estimated tax payments and amotint ‘applied {foe Jord elu. - oe fRABY :
S| -b Estimatedtax payments allocated to beneficiaries: (irom Form1044-7) ...- + « gk ee we EER 2ab
£l -¢ Subtiact, find 2a from line 24a edges sew Ee gwen eae wea bee RO ‘y24e
By do Tax paid lh Form 72004 (pee instruclion Je cee eee eet at aim ees AEP 24d | se ot
B| @ Federal income fax withheld. if afiy Is from Eovti(s) “4099, ghetk fl .. spay ees eS , (e4e[_ 4,881,000.
Bl Dltecpaythente: {FG 2439 1 A Foon ate | s Tot D (Zant
0125 Total payments, Addlines 24¢ through 24eand 24h... -. SMEG EIS — «be [2a 4,884 000.
E = 26 Estimated tax penally ) (ga8 Instrustions) ; nsev eR mba ww gemee ad Pew REESE 26 | :
i127 Taxdue. Iftind25is smaller than the. fotar atiines ‘33 and 26, “sles ainount owed BeBe s PROS __
28. Overpaymont: If fing 25 is larger than the total of lings 23-and 26, enter amount overpaid - ze | 2,764,804.
ay spout Ol lide 28° rig bers Croiited.to to 2016. estimated fax _. hb Refunded ‘be 21. 2 764, B04.
e mE iP mM

re

Sign. belies ies ue, Fea Td complete Docsrevon of preparer ren (othar than Boavay be is based ore homadon A wiih preparer hal
Here AqHE Bey: . th; November 2017 ie Maybe Rison et een
=| Y Sanaturg at tase represenitiog fdoeany Date "EIN of Fawciary it 8 Arafat nation foaney Popes [1h
Paid “PAAVT ype. preparese name: Prager Eghatire “Dats - onesk [fi Pin
a | sdi-einnoved
_— “Phonon.
Finis ads [> NOT.
For Papanwaric Reduction Act Notice, 6¢0 the dopaiale Inpiructlons. Foin 1044 (2018)
urs : i
Ue ee = a eee

USAO-029197
Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 3 of 8

Fon 1941 (2015) BURGESS MATTOX BEY INVESTMENT TRUST

30~6497505

come fund.

Page 2

Gancia A | Charitable Deduction. Do not complete. fora simple trust ora pooled in

4
‘9 Takexenipt income allocable to charilable contributions ps instructions}... = ere tees 2
3 Sublractline 2 fromfine 1... oer vee ee gusewst teed _
4 oa pital gainsfo forthe fax year allogaled to corpus end pal or yetmaneriy sel ‘asde for chavabte papas Sa, Ye A | 4 3 :
& Add linés'S and Bou ywe ead Im whee ew em Raw ge AE es Gee FS ES 6
6 Sectinn-1202 ‘syelusion aloes lo saat sain sid oc permanenby sat pide sie anadtabe ocgteail tom inktructions) | 6 |
E 7 Gharitabié-deduction. Subliact ilne 6 (rom fine §. Enter here and on page 4, line ts . ..-. 1 74

Amounts paid or perm anenily setaside for charitable purposes Irom. gross Fncome (Se2instructions).| 4

Adjusted total income Pera nnise pewi seg wih Coie w ese THAT EES 25
Adjusted feocexemplinilerest oo. e ere ee eet ne te Eee “8
Total net gain from Schedule 0 (Foren 4044), line 419, column a (eos instructions) ma ie eg
Entér amotint from Séhedilé A, fing 4(minus any allocable Section 1202 exclusion}, . - - -
Capital gains tor Whe. tax year indluded Oi’ Schedule A, fine 4 (gee instructions) emvabie an

| Ganedite [Income Distribution | Deduction

Distiibutable netinceme. Combine lines 4 through 6. if zero or tes8; SriterO.. 6. +
if.a complexnist, enter accounting income for the (ax year aS... rs

coe SY oth tk we oe

a Incofne required.to be distributed’ éutranltys joo a we ene RR Te Ew eS ASH
40 Other-amaunts paid, credited, or olhenvise required to be distributed . 6 RR

42 Enter the amountof tax-exempt income included on HNEM cc cee eee eee
43 ~~ Tentative Income distribution deduction. Subtract line 42 ffomlinef1... 22 eee cee ‘
Tentative intone distribulion deduction. Subtract Ina.2 from ‘ne 7. ff zero or less,-enter i.

8!

| 3

Ls
Enlar any: geln from page 4, ting 4-88. a negative number, I page 1, Iino 4, is loss; onias tha loss as & postive ouritear | & |
ts ww [7 | 4,881,000.

determined under the goverlrig ‘instrument und applicable local few . 3 | 4 Z gai i 000.

44. Total distribullons. Add lines'9 and 40-if grealer than line 8, es insttuclions. Ls Se om 5 ws #5

Fe

- bn

é {ts |
wea 14 4,881,000.
Income dlatiibution deduction. Enter the. smaller of line 23 er line 14 hers and on page 1,fine 38 | 15

d Yotal.Addiines ja through ig... +--+: Kea ww Ee

{ Suhedate © F Tax Computation (see instructions)
4 Taca Taxon taxable income (spe instructions). Siaea 2S eke RE am 4a |.1,931,185.
b Taxon jump-sum distritiutions. Attach Form 4972 3. eee tb .

_¢ 6 Attemative minimum lax (from Schedule | j {Form oe line 56). . {t evel i
~ P| id | 2,934,985 ..

2a Foréigniax ced Altath Fora 4416, 022-06 ee eee
b General business ¢ credit Aftach Form 3800.-- 6225 -- ++" akieua
a Cretht for piior year minimum fax, At'ach Form BBO1. 2c |
ad Bond credits, Attach Form 8912... 00. steerer ern e . L2d |
@ Totat credits: Add lines 2a (hrough | od . a 2
3 Subjracd linie 20 roi iio 44. If Zero Sr less, efter -O-. 2 1,931,185.
4 Netinvestment i income tax from Form 8980, lite2t.. 6 - <2 e eer ete é 185,013.
§  Recdpiure taxes. Check if from: Gg Form 4255 CJ Fon 8641 cm gambemameaawe seers a
6  Hplsehold siipléymart taxés. Attach Schedule H. (Form 1040) . a pewba anew se eees 5
7  Tétal tax Add lines'3 through’. Enter here and. on page 1: tine 23. emi wee sane PT 2,116,196.
Other Inforniation Jyas| No
4 Did theestale or trust’ teceive fax-examphincone? if “Yes, : fos altach 4 computation of ihe allocation-of expanses. x
niet the aniount of faxoxenipt i in erest- income and exempt. -Interest dividends BS
2 Did the estate or trist tecelvérall Gf Any part of the: earnings (salary, wages, “and ofher coinpefsalio) of any. wba
individual by reason of & contract ‘assigriment or -sirnlfar- sirangement? ,z..--.reecs eres te ett | | x
3 Atany tines ‘during calendar j year 2015, did the estate or {rust Have an interest j in ora signature or ciher authority
over a bank. securities, or olher financial accoulitin a foreign POU? eee eee eee nett | fT x
See the Instructions for: exceptions and filing requirements for FinCEN Form 744. if "Yes; "enter the name of the
foreign’country
4 During'the tex year, did the-estate or inust feceive a. distibution from, or was it the gfanitor of, or transferor 0, /
foreign trust? If *Yea,""iiie estate dt ust may have to file Form 3620, See insiructions » ye ers ee et a x
& -Didthe estate ortrust. teceive, of pay; any qualified: “ragldenigé iierest off i geile¢-provided fi financlng? If *¥es,” see
the Ins uctlons. for réquired gindhmnerit sos cn ed eee ene ee ee ea reeg | LR
6 ff this isan estaté or 2 complek trust raking sie section 685(b) biecticin, check herd (sed instfuctions) » .. . :
7 Tomake a section 645(e)(3) election, attach Schedule D (Form 4041), ahd check hers. (geeinsiructions) . bE
a {i tha detoiients estaia has been open for more than 2 years. rch ayers th oy nltina he pee ene > D)
3. Are any present or fulure {nist benefi cafes Skip peisons?. Séaindinuclions, <->» ¢ -3 » 2 Et j xX
avs “Fon O31 (2015)

USAO-029198
Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 4 of 8

t
LELLLA
Final R-4 (R] Amencind K1 OMB No, 1545-0092
Sehadula K-1 6) 4 5 WM Benaficlany's Shire of Current Year incoms
{Form 1041) ma Deduction:, credits, and Other Items
ial igs der” For Galandar year 2045, 1] Interest Ineand 44 | inal yéer deductions
of tox year deyinning
and ending ° ge { Ondiney diddends
Beneficiary's Share of Income, Deductions, # | Sualetivents -
Credits, etc. D See instructlona. sag OS _ oo
3 { Ret sbod-lem Capital galn
he snetion Aboxt Sic ¢ : _ oo
A Estate's of eurte ampfoyer Wéntication number ae | Nel long-term capéal gain
30-G497508 z i _
ab] 28% Fale gain ) dz | Allemadve minimum tx edustnen

B slates of (russ name
BURGESS MATTOZ BEY INVESTHENT TRUST

4G Uniecopiured weclion $250 gan

6 | Other patifollo and
nonbusiness income

Fgcays ene, acai, Gly, wine, and ZIP code
Asim El Bey
2625 Piedmont Read Northeast
Ste 56-507
Atlanta, GA 30324

& | Ondinhcy butiness income

7 | Net rentat real esiale income

4s | Credits snd cedit receapiura

“8-|_ Othe réetal Income

9 | Oirecly apportioned deductont ay

po

p[_| cneck irra 1041-7 was ted and enter the dtl was fd

eae] reef ie esi em 1040 Fer ex x
40 | ‘Estate fax deduction

ERNE ‘iforaation About the Beneficiary. teed
_]F Banpfciary’s identtying numbet-
926080212 oe: ees
G Benbictary scam, odds, cily, aike, ond ZIP Code . - _

MARQUET ANTWAIN BURGESS MATTOX 7

2625 Piedmont RA WE 56-507
Atlanta; GA 30324

“Woe cilached statement for audifional informaticn.
Noté, A’statement frust be attached showing the
beneficiary's share-of theome.and directly apportioned

deductions froin each business, rental real dais, and

other rerital activity. .
a
£
2
4,
nH
a
wi.
x
Ss
Hf] Danieic banetiiy Féreign benaliclary a
“For Papsrark Reduction Act Natica, seo thd iantructong for Form 1044, ~ Schedule KA (Form i044) 2015
UYA

USAO-029199
eT

=a

Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 5 of 8

Sohadule K-41 (Form 1044} 2035.

Page 2

This fat identifies the codes used on Schedule K-1 for beneficiaries and provi
040, Far detailed reporting and fillng information,
Form 1040 and the Instructions for your income tax ratuit.

neneticlaries who fileForm 1
1041) for a Banaficiary Filing

4, Interest income
2a, Ordinary dividends
zy. Guolified dividende

4. Hot shari-ferm capital gala

aa, Ret long-term ceptiel goin
4b, 28% rate qalp

4c.

a

Unfiéaptured wectlon 1260 git

&, Othor porifolie ard honbusiness.
fneemo

§; Orcilitary business Incomes

7, Mat rastal seal etate Income

A. Otis rontalincoma

9; Directly apportioned dadections
Code
A Depreciation
B Depletion
& Amonlzntion

4b, Entities lax deduction

‘a1. Final Yyoar docuctions

A Esmass deduciient
B Short Enpital lode canyoer

© Lorgtetin capil josa caryorer”

© Notoperating fess camyoree -

& Not pparating lozs camyorer -
minimum

“42, Attairninityé iititeypied tax (ANT torres

Repadoa

Form 1040, line 8a

Foun 1040, line 98

Form 1048, Jina $b

Schedule D, line 5

Schedule 0, {ing 12

28% Rate Gain Workshest, line 4
{Schedde D Inviructoax)
Unrecepturéd Section 1255 Gain
Workeheah ling (1 (Schedule B
{instructions} °

Schedu'e E,4ind 33, column {)

Schedula £ ing 33, clumA id)
ort ,

Shhedufé E tise 53, column (¢}
of(n’

Schodule E, lino 33, column {9}
or ()

Form 8582 oF Schedtle 6, Hine
35, column {c)oF(a)

Form 8982 ce Schédule-€, ine
33, cotumin (c)-0F (8),
Fim 8582 oc Schedule E, Hine
38, columier (6} O08)

Schedula A line 26

Schedule A, lhe 23

Schedule B, lipe Se
Schedyla D, lise-12; tite § of thd
Wichl-for$ch-0, line 14908
ling 40 of the wkaht forSen,D,
Ting 19.

Form 4040, firia 24

Fon 6254, Iiniv's1

A. Aglustriend for mininum taxporposas | Form 6251, Tine 18

8 ANT adjustment alitbulable to
Qualified dhtdands
© AMT adherent atbibuiatie to
Aolshon-temi csphal gain
D ANT-adjustrient attibiitsbla tp
nel long-term eapilid gain
E AMT adjustinentetiibuiable
lintecaphured rection 4250 gas
F AT-adjostmant alributabla te
"Spy rie gain
& Aceelarated depreciation
H Dapeiisn.
1 Amonization
J Buciston Seis

UYA

2615 Form 8801

=,
ae

43, Credits arid credit recapture
Code
A Gresitlor estiniates tae
B Creditor backup withhotdlig
© Low inowinn bouslnig ciedit
D Rehabilitation credit and enespy credit
E Other quelifying investment credit
F Work éppatumity credit
G Creditice smell employer hewih
ingurance prommlums.
BK Blotuel produceccredil
1 Credit for inerdading research activities
J Ronswabie Necticlty, fefined coal,
nd indian copl producdoa credit

K Empowerment z6nt einployment. credit

L. indlen Emptoyrirent credit

K Orphan dig adit

 Gredh for employer provided child
caro und facilis”

O Biodiesel and roscwabls diesel (ude
credit

F Credit ta holders of tax cradit bands

Q Sreditfor employer derantie! ¥epa
payments

FR Recaptura-of condita

{4, Gibar Information
A Tex-ssmpt infsrest
"BR Fordign tists

G Qistified production activities incom

D Fosm W-2 wapos

E ‘Netinvestmentincoms

F Gross farm and lishing mooma

i Fordlpn Wading aicad receipts.
{IRE 042(2))

H Adjustimentforsecilon 1417 net
Investment ieame or deductions

F Othiat information

des Buriniarlzed reporting information for
seo the Instructlons for Schedule K-4 (Form

 T Font 1540, (los 65

Repat ca

Form $040, tina @4

L_ See the boneliciney’s instructions

Form 1039, line &p

Form 4040, line 48 or

Sch. Alina 8

Form 8803, litia 7, col, (b) {also
Seo the benefclin’s inginsctions)
Foon A903, Tine 47

Fam 4952, dine <a

Sohiodute E, lide 42

See the instructions for

For 8873

Form 8850, line 7 {ales s06 tho
baneliciany’s instactiont}

See thn baneficinnya Insuctions

NolG, Ifyou ate & beneficiary who does ool Me & Farm 1940,
s26 insiiuctions for thie type ef income tax Tetum you are filing,

USAO-029200
Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 6 of 8

F
2960 Net lavestment Income Tax - |
Form Z| Indivicuals, Estates, and Trusts 201 5
Deparyrierk of tha Treaty. bp Aitath to yout Lax ratum: Atachment
ternal Ravecue Sanics (05) | Information about Foon 8366 and itesaparate Ingtructions is at svivw. irs. gow Forma eg. Sequancs No.2
Warne(3) ahowti jon yotif taxretuin Yoursecla} aecurty nucber or EIN
BURGESS MATTOX BEY INVESTMENT TRUST -XX-XXXXXXX
(Pad | investinentincome [| Seclln 6013(g} election (See insinictions}
[ j Section 6043(hy eledtion (See instructions)
F x Regulations section 1,141 11048) election (see instructions) .
4 Taxable interest (Se8 Instructions): ©... 6-22 ee eee ees dpiaees meenld 4,881,000.
2 Ordinary dividends (see i instructions) . sewmwee § & ea aes eee eee ee bees | 2 |
3 Aviniies (Seeltisiualons) .... pate ew Pipe tease eebacas & wim oe BON
4a Rental real estate, os parnestips, § corporations, trusts,
éic, (sée instructions) - Fie eb Ww ERS é eeu ete | 4a
b ‘Adjustinent for net. ingorne | or Floss detived inthe ordinary” coins’ of
anon-sedlon 44411 ade or business’ (see instructions): Casha ame 8 4b.
g Combinelines dadnd4b. 2.00. -0 0-22 eee bette teaeer ig ha seasne) ey
5a Net gain of {08s from disposition of property (seoinstructiins). Be: :
bh Net gain or foss from disposition of property that Is not subject to | -
viat'inveSlmiént incdmie tax (S68 instructions). 6.6 es ee sa te 5b
¢ Adjustment from disposition of sapere Interest ors colon
E slock (spe iristrcllons).. se Eee ee ac
E ¢@  Combifie lines 5a through be. cee eee be tee ene ence bem egeeeaene 2a i ba |” ae
b 6 Adjustments ta | investment incame for certain CFCs and PrICs (se instructions) seiamenes LE
7 = Other: mriddilicatlons to investment income (sea insitdclions) «=... eee ee 5 al 8
g — Totalinvestment income. Combine lines 4,2, 3: do, 5d, 8, and sign geil Re a ae SO, Ree 2 8 4,881,000.
(Pant | iivestment Expenses Alioeable to Investment Income, arid Modifi callond..
94 Thvestment jntefest expenses (sea ihSeuCOnS) oe ee ees oa
b Stale, local, and foreign: incometax (see nstructions). . os of Sb!
c tvicalanecis investment exienses (98 nsretlon®) aie wees .. pge
d Add tines-9a,-9b, and Bo. Agree eke swag bos PRATHER TR RES eva e eT 8d
40 Addifiohal modificatlons (see irietructions) « Ma i cha S eam be Ses Oe VERT RSIS 40
: 44. “Total deductions afid mocifications. Ade liriés Sd and 10. cme se EGG Medd poe eae
(Pent D0 [. Tax: Computation aes
42 Netinvestrriént income. Subract Part U, dine 17 from Parl, fing 8, Individuals Zonnnlele lines Fg.
47. Estates:and trusts complete fines {8a -21. If zero oriess, enter-O- peerage gwd w LEZ 4,881,000.
: Individisals:
: 43. Modified adjusted gross income (see instructions)... s+. +e. 1 43
44  TiresHold'’baséd on fillhg status {see ngtructions), «2. eee es LE
45  Subliact.line 14 from ling’ 43. lf zeré of fess, antér De. 25.5148
15 Enter the smaller af line 4201815... ee ee ewe eee eet ee LAB.
47 Net Invedtment income tax-for individuals. Mulily line 48 aye 58% i 008 Enter here and
Irigluite on yourfaxéotura (662: instdlions). 6c ee ects menew geee cies PAL _
Estates and Trusts:
48a Net invesiment income (line 12-above)-. - : eee ce {48a 4,881,000.
4 Deductions for distributicns of el Savestmait inedaie and oo
déeXuctioné under section §4%c) sea instructions) ¢ mae ie ee 1Bb
‘c Undistebuled net investment income. Subliaet line 186 Gort 48a 4 .
insttictig 8). Iizero orless, enter... ee ee tye eee [AEG 4,881,000.
3 48a Adjusted gross intome (6a instructions). . vee deg te | 94 4, 881,000;
5 & Highest tex bracket for estates and tuts or eyed (se , Te
J jnstrudtions). 2. temas cami seese ag wel 12,400.
_g, Subtraetire 195 tom ine. 49a. f xe: ar less, ‘aaldiDha osc «(hel ,868. 700:
30. - Enter the’: smaller of line 18¢ of fine 4196 a iseee Gon 98 19 SEES Mate a en 7g 20 A,868,700.
: 34 -NetInvastmant incbie tax for éstalés and if sis. Multiply tine 20 by 8 3. ‘ait (038). Enter hera
‘ and Include on your tax veturn (see Insteactions) . cin ee eee ee | 24 1285 ,011.
‘ re Paperwork Reduction Act Noilto, zoo your tax totum Instuction®: : Form BOBO (2015)
A
t
'

USAO-029201
Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 7 of 8

Amended Return Statement

Name: BURGESS MATTOX BEY INVESTMENT TRUST EIN: XX-XXXXXXX

Description Original ammount | Amended amount |

Ling Amber |
24e Federal income taxwithheld| $2,440,000. $4,861,000 |
The Amended amount reflects the Correct total withheld.

Line number Description Original amount Amended amount
28 «| Overpayment $323,848 $2,764,804
The Amended amount reflacis the: Co rect Overpayment, _
Line itumber| Descriptian Original amount Atnended ‘anount
29b. Refuirided $323, 848, $2,764,804
The Amended ‘amount reflects the Corréct Gtamournt io be Refunded.

Ameiidied Hetixn - 11/0e/i7 44:26 Bu ‘page 1

USAO-029202

Case 3:20-cr-00044-CAR-CHW Document 71-9 Filed 08/18/21 Page 8 of 8

by
Rapapet

iin gaps TOS SLA Ayadoid BAA

~ one ta ee ree
oti yay Supeeed BEL HEL RDAD | panos ©

web ES
oad ht
Lor ones Begpuon o4b40 105 Hig PROREAAN

sRioz hag aopues ead ST

ny,
Farsi

peu SUE

(mw artsy NE nese

ree Gye te RG te
9

AOD DISARMOTT CT
- 7

ve - —* fe = >
° aaisanhay

(0s uO Shad TIE

1Adl3934 ‘HU PL bebe scononsin aeons,

sad buxesseunesne) . ‘ susp iernochaa oo mach Hops obra has eel 2

ce le TT ee mere

|
BPO0-664S7:HO. BOUTIN |
“A. a woes 2S sorarag onuioney, UAH] |
mene SE 2 gmsngrsipgoamaumentagt ]

a veree Rll MY WrapocnaMnbrwer Fo
ms eC o We eLLL

" SSaHdXS |

az AYaS THASOL

TWN | SES CLINT

ALINGIA
saan . 108 Sea >
wat ssn,
asn WHOL, ANSUNLSAANT ADLNOLLY SSIONAE
eels , aeeein hee

£5 TS

0 —

PO-EL EPRI AROCee" SHBuh . ue]

oS" 92S IN sacar
Ze lil

7 PIMA

| SXSW Lpoz Air Aga

jagwMNoaL'se AVA TAEYT

_NOLEVEW IDSC SHOLSHS 7
UW NORLWNHSLNI-CaSG NAHM
. :

4

- s

. es rin envelopa b mide from post-conrurre? sesta. PRESS roty

“SF SAL NIBOARSS ASALS WA ANC

.SSaudXxa
¥ 11H ¥

TWHSHOL AINA SSauet

USAO-029203
